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5    TERI SCHELL

6

7                            IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,              )       2:14-CR-00325 JAM
                                            )
11                             Plaintiff,   )
                                            )       ORDER RE WAIVER
12   v.                                     )       OF DEFENDANT’S PRESENCE
                                            )
13                                          )
     TERI SCHELL,                           )
14                                          )
                             Defendant.     )
15   __________________________________     )

16

17                                          ORDER

18         On January 27, 2016, defendant, TERI SCHELL, filed Waiver of

19   Defendant’s Presence.    CR 31.   Good cause appearing, such waiver is hereby

20   approved.

21   IT IS SO ORDERED,

22   DATED:   1/27/2016                             /s/ John A. Mendez________________
                                                    HON. JOHN A. MENDEZ
23                                                  United States District Court Judge

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